                         UNITED STATES DISTRICT COURT
                                    FOR THE
                          DISTRICT OF MASSACHUSETTS

                                              )
PAUL JONES                                    )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )        Civil Action No. 19-cv-11093-TSH
                                              )
MONTACHUSETTS REGIONAL                        )
TRANSIT AUTHORITY,                            )
HB SOFTWARE SOLUTIONS, INC.,                  )
REBECCA BADGLEY, DONNA                        )
LANDRY, BONNIE MAHONEY,                       )
KAREN CORDIO, JOANNE NORRIS,                  )
STEPHANIE RICHARDS, TAMARA                    )
SHUMOVSKAYA, JESSICA TORRES                   )
AMANDA KUKTA, ROBERT MONK,                    )
MICHELLE MOYO, IVAN ROMAN,                    )
CRYSTAL GEISERT, JANE DOE and                 )
JOHN DOE                                      )
                                              )
       Defendants.                            )
                                              )

                        HB SOFTWARE SOLUTIONS, INC.’S
                             MOTION TO DISMISS

       In accordance with Fed. R. Civ. P. 12(b)(6), Defendant HB Software Solutions,

Inc. (“HBSS”) requests that the Court dismiss those claims asserted by the Plaintiff Paul

Jones’ (“Mr. Jones”) against HBSS.     As grounds therefore, HBSS respectfully refers the

Court to the accompanying memorandum of law.

       WHEREFORE, for the forgoing reasons, HB Software Solutions, Inc. respectfully

requests that the Court allow its motion to dismiss.
                                            Respectfully submitted,

                                            HB SOFTWARE SOLUTIONS, INC.

                                            By its attorneys,



                                            _/s/ David H/ Rich____________________
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Dated: August 13, 2019


                                 CERTIFICATE OF SERVICE
       I, David H. Rich, hereby certify that this document has been filed through the
ECF system and will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as
non-registered participants on August 13, 2019.


                                            __/s/ David H. Rich_______
                                            David H. Rich (BBO #634275)




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